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           UNITED STATES DISTRICT COURT
       --------------- DISTRICT OF MARYLAND ---------------


                                           APPEARANCE


UNITED STATES OF AMERICA

v.                                                      CASE NUMBER: 15-1997-BPG

DARIUS RAYMOND STEWART



To the Clerk of this Court and all parties of record:

        Please enter my appearance as counsel in this case for Darius Raymond Stewart. I certify that

I am eligible to practice in this court.



Date: October 5, 2015


                                                              /S/

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